               Case 5:18-cv-00680-FB-RBF Document 48-1 Filed 09/28/18 Page 1 of 1
210-335-2313       CTO                                                             06:07 48 pm    09-25-2018


      Defendant: BAO-QUOC
      JN #:       1854288-1
                                  r& NGUYEN
       · ���·s ;coPv
                                                                                                  FILED
      Address: 644 KERG ST, CROWLEY, TX 76036
                                                                                          __ O'CLOCK,mnr- M
      Complainant:                                                                         JUL 1 9 (.UIU
                                                                                             DONNA KAY M,KINNEY
      CoDefendants: JAMES ALAN SPRINGER JR
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      GJ: 675051             PH Court: 227                  MAG NO: 394247                               DEPUTY


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      Court#: 227            SID #: 1103395                 Cause#:
      Witness: State's Attorney                                                      •201
                                                 TRUE BILL OF INDICTMENT

      IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS, the Grand Jury of Bexar County, State of
      Texas, duly organized, empaneled and sworn as such at the July term, A.D., 201 B, of the                    7:Z,7
      Judicial District Court of said County, in said Court, at said term, do present in and to safd Court that in the
      County and State aforesaid, and anterior to the presentment of this indictment:

                                                             Count I

      on or about the 23rd Day of June, 2018, BAO-QUOC TRAN NGUYEN, hereinafter referred to as defendant, with
      the intent to cause harm and a threat of harm to Joseph Salvaggio, hereinafter referred to as complainant, post
      on a publicly accessible website, namely Youtube.com, the residence address of the complainant, and the
      defendant knew that the complainant was a public servant, and the defendant's conduct was in retaliation for
      and on account of the service and status of complainant as a public servant;

                                                            Count II

      on or about the 23rd Day of June, 2018, BAO-QUOC TRAN NGUYEN, hereinafter referred to as defendant, with
      the intent to cause harm and a threat of harm to Patricia Salvaggio, hereinafter referred to as complainant, post
      on a publicly accessible website, namely Youtube.com, the residence address of the complainant, and the
      defendant knew that the complainant was a member of a public servant's family and household, and the
      defendant's conduct was in retaliation for and on account of the service and status of Joseph Salvaggio as a
      public servant;


      AGAINST THE PEACE AND DIGNITY OF THE STATE.


                                                             Foreman of the Grand Jury




                                                             EXHIBIT A
